UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

22md3043 (DLC)
IN RE: Acetaminophen — ASD-ADHD : 22mce3043 (DLC)
Products Liability Litigation :

ORDER: PLAINTIFFS’

 

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DENISE COTE, District Judge:

Through a submission on November 20, 2022, plaintiffs’
Co-Lead Counsel sought to amend the leadership structure for
plaintiffs’ counsel (“Structure”) and revise the appointments.
A November 22 Order: Plaintiffs’ Proposed Leadership
Appointments ordered that any objections to the proposed
Structure and appointments be submitted by November 30 and
that any outstanding applications for appointment be submitted
by November 30. Having received no objections, it is hereby

ORDERED that the following lawyers are appointed as
plaintiffs’ leadership team for one year, subject to renewal
by Court Order:

1. Plaintiffs’ Co-Lead Counsel (“Co-Lead Counsel”): Mikal
C. Watts, Ashley C. Keller, and W. Mark Lanier.

2. Plaintiffs’ Liaison Counsel (“PLC”): Daniel Sullivan.

 

3. Plaintiffs’ Executive Committee (“PEC”): The PEC shall
be composed of Plaintiffs’ Co-Lead Counsel, Plaintiffs’
Liaison Counsel, and the following committee chairs:

 

a. Law & Briefing Committee: Ashley Barriere,
b. Early Vetting/Bellwether Selection Committee: Sean

Tracey.
c. Discovery/ESI Committee: Fric Holland.

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Dated:

d. Science & Expert Committee: W. Roger Smith.

e. Settlement/Lien Resolution Committee: doe
Littlepage.

£. Federal /State Court Liaison Committee: Ann Callis.

. Plaintiffs’ Steering Committee (“PSC”): The PSC shall be

composed of Julien Adams, Tricia Campbell, Charles J.
Cooper, Eric W. Cracken, Paul Danziger, Richard Golomb,
Patrick Luff, David P. Matthews, Neal Moskow, Richard M,
Paul III, Ruth Rizkalla, and Lindsey Scarceilo.

New York, New York
December 2, 2022

Be, LM

YENTSE COTE
United States District Judge
